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                          EXHIBIT A
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                       COMPOSITE
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                        COMPOSITE
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     PAY PERIOD           HOURS WORKED          PAY TOTAL          TIPS EARNED       PAY W/ TIPS/HR       RATE OF PAY
05/22/2017-06/04/2017          67.7               343.92               590.7                   $13.80 $5.08/HR (+$3.02)
06/05/2017-06/18/2017         62.02               315.04              701.82                   $16.39
06/19/2017-07/02/2017         60.93               309.54              343.84                   $10.72
07/03/2017-07/16/2017         47.83               242.99              607.24                   $17.77
07/17/2017-07/30/2017          72.4               367.79              331.01                    $9.65
07/31/2017-08/13/2017         72.45               368.05              640.37                   $13.91
08/14/2017-08/27/2017          61.3                311.4              675.74                   $16.10
08/28/2017-09/10/2017         47.23               239.95              431.63                   $14.21
09/11/2017-09/24/2017         74.73               379.65              963.75                   $17.97
09/25/2017-10/08/2017         61.03               310.05               911.9                   $20.02
10/09/2017-10/22/2017          74.6               378.97              856.24                   $16.55
10/23/2017-11/05/2017         66.83               339.51              609.77                   $14.20
11/06/2017-11/19/2017         65.85               334.52              732.72                   $16.20
11/20/2017-12/03/2017         72.72                369.4              672.35                   $14.32
12/04/2017-12/17/2017         73.27               372.19              834.02                   $16.47
12/18/2017-12/31/2017         65.75               334.01              639.74                   $14.80




Min Wage FL 2017: $8.10
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     PAY PERIOD         HOURS WORKED        PAY TOTAL           TIPS EARNED      PAY W/ TIPS/HR       RATE OF DAY
01/01/2018-01/14/2018       68.5              358.25               636.65                  $14.52 $5.23/hr
01/15/2018-01/28/2018       66.67             348.69                569.5                  $13.77
01/29/2018-02/11/2018       68.47              358.1                641.2                  $14.59
02/12/2018-02/25/2018       79.83              417.5               1041.19                 $18.27
02/26/2018-03/11/2018       63.1              330.02               601.06                  $14.75
03/12/2018-03/25/2018       70.26             367.47               595.75                  $13.70
03/26/2018-04/08/2018        59               308.56               773.36                  $18.33
04/09/2018-04/22/2018       68.28             357.11               891.51                  $18.28
04/23/2018-05/06/2018       59.65             311.96               665.66                  $16.38
05/07/2018-05/20/2018       75.02             392.35               938.69                   $17.74
05/21/2018-06/03/2018       72.79             380.69               604.28                  $13.53
06/04/2018-06/17/2018       69.6                364                649.79                  $14.56
06/18/2018-07/01/2018       33.68             176.14               386.59                  $16.70
07/02/2018-07/15/2018       57.96             303.13               605.62                  $15.67
07/16/2018-07/29/2018       61.59             322.11               501.36                  $13.37
07/30/2018-08/12/2018       72.47             379.02               571.15                  $13.11
08/13/2018-08/26/2018       57.64             301.46                 590                   $15.46
08/27/2018-09/09/2018       75.02             392.36               780.75                  $15.63
09/10/2018-09/23/2018       71.95              376.3               872.85                  $17.36
09/24/2018-10/07/2018       71.84             375.74               591.02                  $13.45
10/08/2018-10/21/2018       76.01             397.53               836.38                  $16.23
10/22/2018-11/04/2018       74.78             391.11               697.02                  $14.55
11/05/2018-11/18/2018       73.33             383.53               641.57                  $13.97
11/19/2018-12/02/2018       69.62             364.13               668.62                  $14.83
12/03/2018-12/16/2018       74.63             390.32               763.19                  $15.45
12/17/2018-12/30/2018       66.36             347.06               734.56                  $16.29
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     PAY PERIOD         HOURS             PAY TOTAL           TIPS EARNED      PAY W/ TIPS/HR    RATE OF DAY
12/31/2018-01/13/2019    67.34              366.35               669.73            $15.38          $5.44/hr
01/14/2019-01/27/2019     74.2              403.66               612.66            $13.69
01/28/2019-02/10/2019    73.34              398.96               721.45            $15.27
02/11/2019-02/24/2019    79.36              431.72                882.6            $16.56
02/25/2019-03/10/2019    74.18              403.54               746.06            $15.49
03/11/2019-03/24/2019    74.69               406.3               621.84            $13.76
03/25/2019-04/07/2019    78.32              426.08               496.33            $11.77
04/08/2019-04/21/2019    77.31              420.57               813.52            $15.96
04/22/2019-05/05/2019    75.79              412.31               756.39            $15.42
05/06/2019-05/19/2019    74.94              407.67               571.69            $13.06
05/20/2019-06/02/2019    76.75              417.51               639.08            $13.76
06/03/2019-06/16/2019    76.07              413.83               491.45            $11.90
06/17/2019-06/30/2019    78.01              424.37               694.02            $14.33
07/01/2019-07/14/2019     76.4              415.63               445.32            $11.26
07/15/2019-07/28/2019    76.13              414.16               730.58            $15.03
07/29/2019-08/11/2019    45.03              245.23                389.9            $14.10
08/12/2019-08/25/2019    57.47              312.64                468.2            $13.58
08/26/2019-09/08/2019    77.24              420.18               402.93            $10.65
09/09/2019-09/22/2019    76.99              418.84               877.36            $16.83
09/23/2019-10/06/2019    79.83              434.28               664.75            $13.76
10/07/2019-10/20/2019    79.93              434.81               702.87            $14.23
10/21/2019-11/03/2019     79.9              434.66               658.44            $13.68
11/04/2019-11/17/2019    79.48              432.37               655.12            $13.68
11/18/2019-12/01/2019    78.62              427.69               815.99            $15.81
12/02/2019-12/15/2019    78.29               425.9               612.56            $13.26
12/16/2019-12/29/2019    71.02              386.35               628.99            $14.29
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     PAY PERIOD         HOURS               PAY TOTAL          TIPS EARNED      PAY W/ TIPS/HR       RATE OF DAY
12/30/2019-01/12/2020    71.27                394.16              687.42            $15.17       $5.54/hr
01/13/2020-01/26/2020    77.05                426.86              661.67            $14.12
01/27/2020-02/09/2020    79.92                442.77              784.17            $15.35
02/10/2020-02/23/2020    79.67                441.39              834.43            $16.01
02/24/2020-03/08/2020    79.81                442.13              1058.78           $18.80
03/09/2020-03/22/2020    66.51                368.46              314.74            $10.27
03/23/2020-04/05/2020    32.56                195.36
